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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE
In re:                                                Chapter 7

CHICKEN SOUP FOR THE SOUL                             Case No. 24-11442 (TMH)
ENTERTAINMENT, INC., et al.,
                                                      Jointly Administered
                            Debtors.
                                                      RE: Docket No. 144

                            CERTIFICATION OF NO OBJECTION

         The undersigned hereby certifies that, as of the date hereof, he has received no answer,

objection or other responsive pleading to Motion of CVS Pharmacy, Inc. for an Order Modifying

the Automatic Stay Pursuant To 11 U.S.C. §§ 105(A) and 362(D) to Permit CVS Pharmacy, Inc.

to Remove and Dispose of Kiosks [D.I. 144] (the “Motion”). The undersigned further certifies

that he has reviewed the Court’s docket in this case and no answer, objection or other responsive

pleading to the Motion appears thereon. Pursuant to the Notice of Motion, objections to the

Motion were to be filed and served no later than July 30, 2024 at 4:00 p.m.

         It is hereby respectfully requested that the Order attached to the motion be entered at the

earliest convenience of the Court.

Dated: August 2, 2024                             COOCH AND TAYLOR, P.A.

                                                  /s/ R. Grant Dick IV
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